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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

DIANA QUINTANILLA,                              §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §                  Civil Action No. 7:22-cv-131
                                                §
ROCKET MORTGAGE, LLC f/k/a                      §
QUICKEN LOANS, LLC f/k/a                        §
QUICKEN LOANS, INC.,                            §
                                                §
       Defendant.                               §

                            JOINT STIPULATION OF DISMISSAL

       Plaintiff Diana Quintanilla (“Plaintiff”) and Defendant Rocket Mortgage, LLC f/k/a

Quicken Loans, LLC f/k/a Quicken Loans, Inc. (“Defendant” or “Rocket Mortgage”)

(collectively the “Parties”), hereby stipulate and agree that pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), all claims and causes of action asserted or could have been asserted by

Plaintiff against Defendant are hereby dismissed.

                                             Respectfully submitted,

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